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 1                                                                             The Honorable Tana Lin
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                   SEATTLE DIVISION

 9
   SECURITIES AND EXCHANGE
10 COMMISSION,
                                                           Case No. 2:22-cv-01009-TL
11                                    Plaintiff,
12          v.                                             PARADIGM OPERATIONS LP’S MOTION
                                                           FOR LEAVE TO FILE BRIEF OF AMICUS
13 ISHAN WAHI, NIKHIL WAHI, AND                            CURIAE
14 SAMEER RAMANI,
    Defendants.                                            NOTE ON MOTION CALENDAR:
                                                           March 24, 2023
15

16          In compliance with Fed. R. Civ. P. 7 and Local Civil Rule 7 Paradigm Operations LP
17   (“Paradigm”) respectfully moves to file a brief as amicus curiae regarding the scope of the
18   Securities and Exchange Commission’s (“SEC”) jurisdiction over digital assets and whether
19   secondary market trades of digital assets should be considered “securities transactions” within
20   the meaning of the Securities Act of 1933 and the Securities Exchange Act of 1934. A copy of

21   the proposed brief is attached as Exhibit A to this Motion.

22                               I.         STATEMENT OF INTEREST

23          Paradigm is a venture investment firm focused on supporting innovation within the
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     crypto asset, blockchain, and web3 sectors. Paradigm offers a range of services, from the
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     technical to the operational, to help crypto companies and projects achieve their full potential.

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     Similarly, in its role as an industry participant and steward, Paradigm actively dedicates
 1

 2   significant resources to engaging with state and federal regulators, legislators, trade

 3   associations, and other industry participants in order to help educate, advocate for, and grow

 4   the industry. Paradigm has filed briefs as amicus curiae in several matters similarly as critical

 5   as this, including in the matter of SEC v. Ripple Labs, Inc., No. 20-cv-10832 (AT) (SN)
 6   (S.D.N.Y.) (“Ripple Labs”), and in the matter of Commodity Futures Trading Comm'n v. Ooki
 7
     DAO, No. 3:22-cv-05416-WHO, 2022 U.S. Dist. LEXIS 228820 (N.D. Cal. Dec. 20, 2022).
 8
     Paradigm seeks leave to participate in this case because it is concerned that a decision which
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     casually adopts the SEC’s expansive and unsupported application of the test set forth in S.E.C.
10
     v. W.J. Howey Co., 328 U.S. 293 (1946) (“Howey”), without appreciating its impact, could
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12   have sweeping and unintended effects on Paradigm, the companies and projects it supports,

13   and the many others who seek to utilize this new technology in ways that may benefit millions

14   of users in the United States and around the world.

15                                         II.    ARGUMENT
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            This Court has “broad discretion to permit or prohibit amicus participation.” Maverick
17
     Gaming LLC v. United States Defendants, No. 3:22-cv-05325-DGE, 2022 U.S. Dist. LEXIS
18
     189275, at *4 (W.D. Wash. Oct. 17, 2022) citing Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th
19
     Cir. 1982). Amicus curiae fulfill a critical role in our judicial system by submitting briefs
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     “designed to supplement and assist in cases of general public interest, supplement the efforts of
21

22   counsel, and draw the court’s attention to law that might otherwise escape consideration.”

23   Cmty. Ass'n for Restoration of the Env't v. Deruyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D.

24   Wash. 1999). Leave to file an amicus brief should “normally be allowed” in instances where a
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     party has “unique information or perspective that can help the court beyond the help that the
 1

 2   lawyers for the parties are able to provide.” Id.

 3          Paradigm respectfully submits that leave to file an amicus brief is appropriate here. The

 4   proposed amicus brief by Paradigm will be of aid to the Court and will offer insights not

 5   presented by or available to the parties. Paradigm possesses a deep and extensive
 6   understanding of the underlying technology, the legal issues, the applicable jurisprudential
 7
     history, and the potential consequences at stake in this case. The extent of its expertise is
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     evidenced by its prior amicus brief in the Ripple Labs matter having been cited by both the
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     SEC and Ripple Labs, Inc, in that case. See Ripple Labs, Pl. Reply Mem. of Law in Further
10
     Sup. of Pl. Mot. for Summ. J, ECF No. 730 at p. 28, 32, 52; see also Ripple Labs, Def. Reply
11

12   Mem. of Law in Sup. of Def. Mot. for Summ. J, ECF No. 729 at p. 1, 10. Paradigm’s proposed

13   amicus brief focuses on the novel position of the SEC with respect to the nine crypto assets at

14   issue in this matter, which is not supported by Howey jurisprudence. Paradigm believes this

15   perspective is critical given that the SEC’s theory of law would create an entirely new standard
16
     for investment contract determinations that no market participant could possibly comply with.
17
     The implications of a judicial endorsement of the SEC’s flawed position would have
18
     significant consequences for Paradigm, its supported companies, projects, and protocols, and
19
     others engaging with crypto assets.
20
            Paradigm has a substantial interest in ensuring that the Court has been presented with a
21

22   comprehensive review of the issues, jurisprudential history, and associated consequences in

23   order to “draw the court’s attention to law that might otherwise escape consideration.” Cmty.

24   Ass'n for Restoration of the Env't, 54 F. Supp. 2d 974 at 975. Thus, Paradigm respectfully
25   submits, the proposed amicus will aid the court in fashioning a ruling. See Sierra Club, 2016


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     U.S. Dist. LEXIS 124269, at *5 (granting motion for leave to file amicus filed by industry
 1

 2   group where issue “could have ramifications beyond the current parties”).

 3                                        III.    CONCLUSION

 4          For the foregoing reasons, Paradigm respectfully requests that this Court grant the

     motion for leave to file the amicus brief attached hereto as Exhibit A.
 5
            DATED this 9th day of March, 2023.
 6
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23                                                 Attorneys for Amicus Curiae Paradigm Operations
                                                   LP
24
            CERTIFICATION: The above signatory also certifies that this memorandum contains
25
     814 words, in compliance with the Local Civil Rules.

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